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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:10CR3052
                                        )
             v.                         )
                                        )      MEMORANDUM AND ORDER
MY TAN CAO,                             )
                                        )
                   Defendants.          )


      The defendant has moved to review his detention and requests a hearing. Under
18 U.S.C. § 3142(f) the magistrate judge may only review detention if “information
exists that was not known to the movant at the time of the hearing and that has a
material bearing” on the amelioration of the risks of non appearance and safety.
Therefore, motions for review of detention must specify the factual basis for the
motion, the materiality of the facts to the issues, and that the information was not
known previously. The defendant’s motion does not include this requite information.


      Accordingly,


       IT IS ORDERED that the defendant’s motion to review detention, (filing no.
67), is denied without prejudice to re-filing, if appropriate, in accordance with the
requirements described in this order.

      DATED this 14th day of July, 2011.

                                       BY THE COURT:

                                       s/ Cheryl R. Zwart
                                       United States Magistrate Judge
